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                                                                                       United States District Court
                                                                                         Southern District of Texas

                                                                                            ENTERED
                       IN THE UNITED STATES DISTRICT COURT                               February 15, 2022
                       FOR THE SOUTHERN DISTRICT OF TEXAS                                Nathan Ochsner, Clerk
                                 HOUSTON DIVISION

UNITED STATES OF AMERICA                          §
                                                  §
                                                  §
v.                                                §   CRIMINAL ACTION NO. H-12-503
                                                  §   CIVIL ACTION NO. H-21-662
                                                  §
                                                  §
JASON DANIEL GANDY                                §

                  ORDER DENYING MOTION TO APPOINT COUNSEL

       On December 6, 2021, the court orally denied defendant Jason Daniel Gandy’s motion to

vacate his judgment of conviction, filed under 28 U.S.C. § 2255. The court filed a written opinion

as well. (Docket Entry No. 267). Gandy, representing himself, has now filed a motion asking the

court to appoint counsel to represent him for purposes of an appeal. (Docket Entry No. 266).

       Habeas corpus proceedings in federal court are civil actions for which there is no

constitutional right to the assistance of counsel. See Pennsylvania v. Finley, 481 U.S. 551, 555

(1987) (“Our cases establish that the right to appointed counsel extends to the first appeal of right,

and no further.”). In some circumstances, there is a statutory right to the assistance of counsel.

See United States v. Vasquez, 7 F.3d 81, 83 (5th Cir. 1993); see also RULES GOVERNING § 2255

PROCEEDINGS (8)(c) (2020) (requiring that counsel be appointed to an indigent defendant if an

evidentiary hearing is required). None of those circumstances exist here.

       The court denied Gandy a certificate of appealability, and he has not shown that relief was

denied improperly or that he has a non-frivolous issue to raise that would require the appointment
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of counsel. His motion for the appointment of counsel, (Docket Entry No. 266), is denied without

prejudice. He may refile his motion with the Fifth Circuit.

               SIGNED on February 14, 2022, at Houston, Texas.



                                             _______________________________________
                                                          Lee H. Rosenthal
                                                   Chief United States District Judge




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